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ƒlaDana M. Johnson, Idaho Bar #8359
Wilderness Watch
P.O. Box 9623
Moscow, Idaho 83843
Tel: (208) 310-7003
danajohnson@wildernesswatch.org

Matthew K. Bishop, pro hac vice
Western Environmental Law Center
103 Reeder’s Alley
Helena, Montana 59601
Tel: 406-324-8011
bishop@westernlaw.org

Peter M.K. Frost, pro hac vice
Western Environmental Law Center
120 Shelton McMurphey Blvd., Suite 310
Eugene, Oregon 97401
Tel: 541-359-3238
frost@westernlaw.org

Attorneys for Plaintiffs


                           UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO


 WILDEARTH GUARDIANS, et al.,            Case No. 1:19-cv-00203-CWD

        Plaintiffs,                      PLAINTIFFS’ OPPOSITION TO
                                         DEFENDANTS’ MOTION TO
        v.                               DISMISS COUNT 1 [Dkt. 38]

 U.S. FOREST SERVICE, et al.,

        Defendants.
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        Pursuant to Dist. Idaho Loc. Civ. R. 7.1(c), Plaintiffs WildEarth Guardians et al.

(“Guardians”) hereby respectfully oppose the Motion to Dismiss Count 1 filed by Defendants

U.S. Forest Service (“Forest Service”) and U.S. Fish and Wildlife Service (“FWS”). Dkt. 38.

                                                   Facts.

        “Baiting” in the context of hunting means to use food, salt, or scented items to attract

wildlife. Use of Bait in Hunting, 59 Fed. Reg. 11,765, 11,766 (Mar. 14, 1994). Through the early

1990s, eleven states, including Idaho and Wyoming, authorized hunters to use bait. Id. From the

1960s through 1992, some national forests required both individual hunters and commercial

guides who served hunters to obtain a special use permit to use bait. Id.; Plfs.’ Ex. 1 at 9,1 Dkt.

12, Plfs.’ Amended Cmpl. (“AC”) ¶ 17.2 For example, because “Wyoming had no regulations

covering the placement and removal of baits[,]” certain national forests in Wyoming—such as

the Bridger-Teton, the Bighorn, and the Shoshone, all of which include grizzly bear habitat—

required hunters and guides to obtain special use permits to use bait, or issued closure orders to

prohibit bait in certain areas. AC ¶ 17; Plfs.’ Ex. 1 at 9; Plfs.’ Ex. 7 at 9–10.



1
   Guardians files seven exhibits—all Forest Service or FWS documents—to provide a complete
background for the Court. Guardians respectfully requests that the Court take judicial notice of
them. United States v. 14.02 Acres, 547 F.3d 943, 955 (9th Cir. 2008) (a court “may take judicial
notice of matters of public record and consider them without converting a Rule 12 motion into
one for summary judgment. Judicial notice is appropriate for records and reports of
administrative bodies.”) (internal citations omitted).
2
   Defendants represent that “Forest Service regulations have, since at least 1980, exempted
‘hunting’ from the requirements for special use authorization . . . .” Dkt. 38-1, Defs.’ Mem. in
Support of Motion to Dismiss Count 1, 4 (“Defs.’ Mem.”) (citing 36 C.F.R. § 251.50(c)). That is
only partially correct. First, the regulation exempts only “[n]oncommercial recreational” hunting.
36 C.F.R. § 251.50(c). By contrast, if a hunter hires a guide, the guide must possess a special use
authorization. Land Uses; Special Uses Requiring Authorization, 69 Fed. Reg. 41,946, 41,948
(July 13, 2004). Hiring guides is common; Wyoming at least once required non-resident hunters
to hire a guide to hunt in certain areas. Plfs.’ Ex. 7 at 7. Second, if a hunter builds a structure,
like a “shooting stand” at a bait station, which the Forest Service states “often” occurs, a special
use authorization is required. Plfs.’ Ex. 7 at 3; see 36 C.F.R. § 261.10(a).


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        In March 1992, the Regional Foresters for the Rocky Mountain and Intermountain

Regions decided to discontinue requiring special use permits in national forests in Wyoming, and

to instead issue a joint “closure order prohibiting black bear baiting” in national forests in

Wyoming except where allowed, and with certain conditions. 59 Fed. Reg. at 11,766.3 Two

groups sued the Forest Service for switching from special use permits to closure orders in

Wyoming without preparing a National Environmental Policy Act (“NEPA”) analysis as to

effects on black bears. Id. To settle the case, the Forest Service agreed to consider under NEPA

whether to eliminate requiring special use permits for baiting in national forests in Wyoming. Id.

        On February 19, 1993, the Forest Service issued an EA under NEPA. Plfs.’ Ex. 7. The

proposed action in the EA is for the Forest Service to “regulate noncommercial bear baiting” in

national forests in Wyoming by entering into a Memorandum of Understanding (“MOU”) with

Wyoming that requires the state to adopt rules for baiting. Id. at 17–18. The EA also requires

“mitigation measures” for all considered alternatives, including: (1) no bear baiting in the grizzly

bear “recovery zone” and (2) outside of the zone, no bear baiting where the Forest Service issues

an order prohibiting “the improper storage of food in grizzly bear habitat.” Id. at 18–19.

        In March 1993, the Forest Service prepared a Biological Evaluation under Section 7(a)(2)

of the Endangered Species Act (“ESA”) to assess whether the proposed alternative in the EA

would affect ESA-listed species, including grizzly bears. Plfs.’ Ex. 2 at 1 (reciting history).4 On




3
  The areas the Forest Service closed to baiting under special use authorizations and under the
subsequent joint closure order were “very similar.” Plfs.’ Ex. 7 at 4.
4
    Guardians does not possess the 1993 Biological Evaluation.



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April 6, 1993, the Forest Service requested formal consultation with FWS under Section 7(a)(2)

to obtain its opinion as to the effects of its actions on ESA-listed species. Id.5

        On April 14, 1993, FWS issued a BiOp. Id.; AC ¶ 19. The BiOp states that “baiting for

black bears within the range of the grizzly bear” can result in mortality to grizzlies, if a hunter

mistakes a grizzly for a black bear, if a grizzly attempts to defend a food source from what it

perceives as a competitor, or if a hunter perceives that a grizzly threatens the hunter’s safety.

Plfs.’ Ex. 2 at 4. The BiOp states grizzlies may become “conditioned” to the foods used for bait,

and seek them elsewhere, and become “problem” bears requiring “management actions.” Id. The

BiOp states that between 1967 and 1993, five grizzlies were reportedly killed at black bear bait

sites in Wyoming. Id. at 5. The BiOp notes the mitigation measures in the 1993 EA, including

“[c]losing the proposed grizzly bear recovery area and all areas covered by a special order

prohibiting improper storage of food in grizzly bear habitat (mitigation measures common to all

alternative[s]) will have a beneficial affect [sic] on grizzly bears.” Id. at 2. Based on the

mitigation measures, FWS found that none of the alternatives in the 1993 EA would jeopardize

the continued existence of the grizzly bear. AC ¶ 19; Plfs.’ Ex. 2 at 6.

        However, FWS found a “remaining potential for incidental take of grizzly bears” due to

baiting to hunt black bears, so it issued an Incidental Take Statement (“ITS”) that includes

conditions it deemed “critical to fulfillment of [the Forest Service’s] responsibilities” under

Section 7(a)(2). AC ¶ 21; Plfs.’ Ex. 2 at 6–7. The ITS includes mandatory terms and conditions.

First, the Forest Service must “[e]liminate the use of processed human, livestock or pet foods,

and fruits and vegetables produced for human consumption, as bear baits in any areas regularly

used by grizzly bears[.]” Plfs.’ Ex. 2 at 7. Second, the Forest Service must “[e]liminate the



5
    Guardians does not possess the document requesting consultation.


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requirement that hunters, outfitters or guides who report a grizzly bear on a legally placed bait

remove the bait.” Id.6 Third, “[t]he [Forest Service] has a continuing duty to regulate the activity

covered by this incidental take statement.” Id. Finally, FWS found that “[a]lthough there is a

remote possibility that a grizzly bear may be taken as a result of black bear baiting on [Forest

Service] lands in Wyoming, [FWS] does not anticipate that such take will occur. Therefore, no

incidental take is allowed. Should any take occur, the [Forest Service] must reinitiate formal

consultation with [FWS] and provide the circumstances surrounding the take.” Id.

        Subsequently, the Forest Service “implemented a closure order prohibiting the use of bait

for black bear hunting in the grizzly bear recovery zone, in the food restriction areas on the Wind

River Ranger District, Shoshone National Forest, and prohibited hunting of black bears with

non-natural baits in grizzly habitat not covered by other closure orders.” Plfs.’ Ex. 4.

        In April 1993, the Forest Service issued a Decision Notice under NEPA to adopt an

alternative from the EA. 59 Fed. Reg. at 11,766 (noting Decision Notice). Guardians does not

possess the Decision Notice, so it is not clear which alternative was adopted, but it appears the

Forest Service in fact entered into a MOU with Wyoming requiring the state to adopt rules

related to baiting and grizzly bears. See Plfs.’ Ex. 1 at 2 (Table of Contents noting “Appendix E

Wyoming Game and Fish Commission/Forest Service Memorandum of Understanding”) & 4.

        The Forest Service then faced “the threat of another [law]suit,” Plfs.’ Ex. 1 at 8, so it

decided that “national direction was needed to end the conflict and controversy.” 59 Fed. Reg. at

11,766. At that juncture, the Forest Service rescinded its EA and Decision Notice. Id.; Plfs.’ Ex.




6
   FWS stated that removal of bait “should be accomplished by individuals experienced with
grizzly bear behavior.” Plfs.’ Ex. 2 at 7.


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4. However, its prior closure orders remained in effect, and it also closed to baiting “an

additional area on the Greybull District, Shoshone National Forest[.]” Plfs.’ Ex. 4.

        In April 1994, the Forest Service published an interim national policy that generally

leaves to states whether to authorize bait in national forests, subject to oversight and regulation

by the Forest Service. 59 Fed. Reg. 11,765 (April 14, 1994). In March 1995, the Forest Service

prepared another EA to consider permanently adopting the national policy. Plfs.’ Ex. 1. The 1995

EA states the purpose of the policy is two-fold: to “clarify that baiting is a hunting method that is

authorized by the States and regulated by the States, as well as to establish procedures that will

be used by the Forest Service when State regulations conflict with Federal laws, regulations, and

policies.” Plfs.’ Ex. 1 at 7. The 1995 EA states: “There is a need to ensure that State regulations

governing baiting protect Federal resources, and, failing sufficient State protection, that the

Forest Service provide such protection.” Id.

        The proposed action in the 1995 EA is to amend the Forest Service manual to adopt the

national policy to allow states to regulate bait, subject to Forest Service oversight and regulation.

Id. at 11–13; 60 Fed. Reg. 14,720 (March 20, 1995). The policy states: “Where States permit the

use of bait for attracting resident game, this activity is allowed on National Forest Service lands,

subject to State hunting laws and regulation, unless the authorized officer determines on a site-

specific basis that there is a need to prohibit or restrict the practice.” 60 Fed. Reg. at 14,723. The

Forest Service stated it would monitor State regulations” to ensure they “protect Federal

interests.” Id. at 14,721. The Forest Service explained that if the “use of bait conflicts with

Federal law or regulations, forest plan direction, or other uses or users . . . the authorized officer

could prohibit or restrict the use of bait, in an area, by issuing a closure order.” Id. Before issuing

a closure order, the officer “would first consult with the State fish and wildlife agency to see if




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the conflict could be resolved without a closure or restrictive order,” but “the Forest Service

would close specific areas to baiting if conflicts cannot be resolved . . . .” Id. at 14,720–21. The

Forest Service stated “the authorized officer must close an area to baiting” if certain

circumstances arise, including if “State laws and regulations conflict with Federal law, such as

the Endangered Species Act.” Id. at 14,721.

        Pursuant to Section 7(a)(2), on February 13, 1995, the Forest Service wrote FWS that it

was “in the process of preparing a National Policy on bear baiting[.]” Plfs.’ Ex. 4. The Forest

Service wrote that “as a result of the mitigation measures in the EA and the reasonable and

prudent [measures] in the [BiOp], we implemented a closure order prohibiting the use of bait for

black bear hunting in the grizzly bear recovery zone,” and prohibited baiting in grizzly habitat

not covered by other closure orders. Id. The Forest Service wrote that it had reviewed its 1993

Biological Evaluation, its existing closure orders, the BiOp, and state regulations on baiting, and

stated “it is our opinion that the National Policy, when issued, would not change the conditions

or situations that were present when the original [BiOp] was issued.” Id. The Forest Service

noted that its “plan to continue with the closure orders that are in place[.]” Id. The Forest Service

concluded: “We ask that you review the original [BiOp] in light of this proposed new policy, and

the actions we have taken, to determine if you concur that the actions we have taken to protect

the grizzly bear are still adequate.” Id.

        On February 27, 1995, FWS responded by noting the Forest Service complied with the

condition in the ITS and closed the grizzly bear recovery zone to baiting, and also prohibited the

use of non-natural baits in other areas occupied by grizzly bears. Plfs.’ Ex. 5 at 1. FWS noted

that Wyoming had required hunters to report use of bait by a grizzly to state agency personnel,

who would remove the bait. Id. FWS concluded: “The proposed National Policy appears to be




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consistent with our biological opinion of April 13, 1993, and no information has become

available to suggest that additional terms and conditions are necessary at this time.” Id. at 2.

        Finally, on March 14, 1995, FWS responded to an “undated” Forest Service letter

delivered to FWS on February 24, 1994 [sic].7 Plfs.’ Ex. 6. FWS noted that the national policy

required the Forest Service to monitor state baiting regulations, “and to establish administrative

closures to baiting where necessary to protect federally listed species.” Id. FWS refers to other

documents “clarifying certain issues” and noting “revisions to the proposed policy agreed to by

our respective staffs[.]”8 Id. FWS noted the status of Forest Service closure orders. Id. FWS

concurred with the Forest Service that its national policy “is not likely to adversely affect

federally listed species.” Id.

        On March 20, 1995, the Forest Service adopted the national policy as a rule. 60 Fed. Reg.

14,720. Eight entities sued, alleging the Forest Service violated NEPA by preparing only an EA

for the new national rule, and violated the ESA by failing to engage in formal consultation as to

its effects. Fund for Animals, Inc. v. Thomas, 932 F. Supp. 368, 370 (D.D.C. 1996). The Forest

Service defended its EA by asserting its rule was not a “major federal action” under NEPA. Id. at

370. It defended the ESA claim by noting it engaged in informal consultation with FWS, and

FWS agreed formal consultation was unnecessary. Id. at 370. The district court ruled in favor of

the Forest Service on both claims. Id. at 371. The D.C. Circuit affirmed. Fund for Animals, Inc.

v. Thomas, 127 F.3d 80 (D.C. Cir. 1997). The D.C. Circuit assumed without deciding that the

national rule constitutes federal “action” under NEPA, but held that it did not constitute “major”




7
  Guardians does not possess the undated letter, but the year of the delivery appears to be
wrong, since FWS responded on March 14, 1995. Plfs.’ Ex. 6 at 1.
8
    Guardians does not possess these documents.


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federal action requiring an EIS. Id. at 83–84. The court also ruled the Forest Service met its

duties under Section 7(a)(2) through informal consultation. Id. at 84.

        Currently, among the contiguous states, only Idaho and Wyoming allow use of bait to

hunt black bears in national forests. AC ¶ 15. Further, Idaho and Wyoming allow use of bait in

areas in national forests that grizzly bears may inhabit. Id. Moreover, since the Forest Service

adopted its national rule, and since it consulted with FWS to obtain its BiOp and ITS, Guardians

alleges numerous grizzly bears have been killed by black bear hunters using bait in national

forests in Idaho and Wyoming. AC ¶¶ 35–37, 40, 44, 45. Guardians also alleges these mortalities

are likely incomplete, because some preliminary grizzly mortality reports do not disclose

whether bait was used, and some do not precisely report locations, to determine whether a death

occurred in a national forest. AC ¶¶ 58 & 61. However, Guardians alleges that in 2018, Idaho

Fish and Game staff killed two grizzlies in eastern Idaho that became attracted to or dependent

on human food sources. AC ¶ 63. And, in June 2019, a grizzly bear was discovered in the Kelly

Creek drainage in the Nez Perce-Clearwater National Forests in Idaho. AC ¶ 59. The grizzly was

seen by a licensed hunter who was stocking a black bear bait site with food. Id. The State of

Idaho urged black bear hunters to be cautious when selecting bears as targets in the area. Id.

                                          Standard of Review.

        Defendants file their motion under Rules 12(b)(1) and 12(b)(6). Dkt. 38; Dkt. 38-1,

Defs.’ Mem. at 9–10. Defendants assert this case is moot, because they have “rescinded” the

BiOp, and because Guardians now lacks standing to sue. Defs.’ Mem. at 10–12, 13. “Because

standing and mootness both pertain to a federal court’s subject-matter jurisdiction under Article

III, they are properly raised in a motion to dismiss under Federal Rule of Civil Procedure

12(b)(1), not Rule 12(b)(6).” White v. Lee, 227 F.3d 1214, 1242 (9th Cir. 2000). Further, because




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Defendants file extrinsic evidence to support the Rule 12(b)(1) motion, it appears to be a factual

attack. Whisnant v. United States, 400 F.3d 1177, 1179 (9th Cir. 2005). “If the moving party

asserts a factual attack, a court may resolve the factual disputes by ‘look[ing] beyond the

complaint to matters of public record, without having to convert the motion into one for

summary judgment.’” Friends of the River v. U.S. Army Corps of Eng’rs, 870 F. Supp. 2d 966,

972 (E.D. Cal. 2012) (quoting White, 227 F.3d at 1242).

        Defendants also assert Guardians’ reinitiation claim “does not state a claim for relief

against [the Forest Service],” and also “should be dismissed for failure to state a claim for relief

against FWS.” Defs.’ Mem. at 20.9 Under Rule 12(b)(6), “dismissal may be based on either a

‘lack of cognizable legal theory’ or ‘the absence of sufficient facts alleged under a cognizable

legal theory.’” Johnson v. Riverside Healthcare Sys., LP, 534 F.3d 1116, 1121 (9th Cir. 2008)

(citation omitted). In considering a 12(b)(6) motion, the Court must view the “complaint in the

light most favorable to” the plaintiff, and “accept[] all well-pleaded factual allegations as true, as

well as any reasonable inference drawn from them.” Id. at 1122 (citation omitted). “Generally, a

district court may not consider any material beyond the pleadings in ruling on a Rule 12(b)(6)

motion.” Branch v. Tunnell, 14 F.3d 449, 453 (9th Cir. 1994) (quoting Hal Roach Studios, Inc. v.

Richard Feiner & Co., 896 F.2d 1542, 1555 n.19 (9th Cir. 1990)).

                                                Argument.

A.      The Only Lawful Agency Action is to Reinitiate Consultation.




9
   Defendants characterize this defense as a “Lack of Statutory Standing.” Defs.’ Mem. at 19. As
the D.C. Circuit has stated, “[s]tatutory standing is not really about standing at all, in the sense
that it limits a ‘court’s statutory or constitutional power to adjudicate the case.’ . . . In other
words, statutory standing ‘is itself a merits issue.’” United States v. Emor, 785 F.3d 671, 677
(D.C. Cir. 2015) (emphasis original) (quoting Lexmark Int’l v. Static Control Components, 134
S. Ct. 1377, n.4 & 1387 (2014)).


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        The Court should not dismiss this case, because based on the facts alleged in the amended

complaint, and the documents that corroborate or supplement those allegations, the only lawful

action for Defendants is to reinitiate consultation. The Court can issue effective relief by

ordering Defendants to reinitiate consultation, and Guardians has stated a claim for such relief.

As a result, the case is not moot, and Guardians has statutory standing.

        In the amended complaint, Guardians alleges reinitiation of consultation is required for

two independent reasons. First, Guardians alleges that numerous grizzly bears have been killed

by black bear hunters using bait in national forests in Idaho and Wyoming. AC ¶¶ 35–37, 40, 44,

45. Guardians further alleges that reported grizzly bear deaths at bait stations are under-inclusive,

because some deaths are not reported. Id. ¶ 58. Accordingly, Guardians alleges the amount or

extent of take in the ITS has been exceeded. Id. ¶ 76 (citing 50 C.F.R. § 402.16(a)(1)).10

        Second, Guardians alleges that FWS once found there was only a “remote possibility” of

grizzlies being killed at bait stations in national forests in Wyoming, but that has been disproven,

and that studies published since the BiOp now show unanticipated harmful effect of baiting on

grizzlies. Id. ¶¶ 19, 75. Accordingly, Guardians alleges “new information” reveals the effects of

the action may affect grizzlies in a manner or to an extent not previously considered. Id. ¶ 75

(citing 50 C.F.R. § 402.16(a)(2)).

        Turning to Guardians’ legal claim that Defendants have failed to reinitiate consultation,

they have only one lawful course of action: to reinitiate consultation. The Ninth Circuit has noted

that “[i]n general, Incidental Take Statements set forth a ‘trigger’ that, when reached, results in




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      As previously noted, applicant-intervenors Wyoming and Idaho would admit that since the
national rule was adopted, three grizzly bears have been killed at bait stations in national forests
in Wyoming, Dkt. 18-2 ¶ 1, and one grizzly bear has been killed at a bait station in a national
forest in Idaho. Dkt. 23-2 ¶ 45.


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an unacceptable level of incidental take, invalidating the safe harbor provision, and requiring the

parties to re-initiate consultation.” Ariz. Cattle Growers’ Ass’n v. U.S. Fish and Wildlife Serv.,

273 F.3d 1229, 1249 (9th Cir. 2001) (emphasis added). When a trigger is reached, the Forest

Service and/or FWS must reinitiate consultation: “Reinitiation of consultation is required and

shall be requested by the Federal agency or by the Service . . . .” 50 C.F.R. § 402.16(a)

(emphases added). Similarly, 50 C.F.R. § 402.14(i)(4) provides: “If during the course of the

action the amount or extent of incidental taking . . . is exceeded, the Federal agency must

reinitiate consultation immediately.” (emphases added). As one court has observed, “the

regulatory language differs between initiation consultation, see 50 C.F.R. § 402.14(a), and

reinitiation of consultation, 50 C.F.R. § 402.16. Section 402.14 merely allows the Fish and

Wildlife Service to request consultation. Reinitiation under § 402.16, on the other hand,

obligates either the action agency or the Fish and Wildlife Service to act.” All. for the Wild

Rockies v. Probert, 412 F. Supp. 3d 1188, 1201 (D. Mont. 2019) (emphases original). Here,

based upon the amended complaint, the sole lawful act the agencies may undertake is to reinitiate

consultation.

        Instead of reinitiating consultation, Defendants traded letters “rescinding” the BiOp and

“terminating” consultation, which they assert renders this case moot. Defs.’ Exs. 1 & 2; Defs.’

Mem. 10–19. To prove a case is moot, a defendant must show the court cannot order “any

effective relief.” San Francisco Baykeeper, Inc. v. Tosco Corporation, Diablo Servs., Inc., 309

F.3d 1153, 1159 (9th Cir. 2002). Further, a defendant asserting mootness bears a “heavy burden

of persuasion.” Id. Defendants’ attempt to moot this case fails, because the rescission is unlawful

for at least three reasons: (1) Defendants have no authority to rescind a BiOp after consultation is

complete, except by reinitiating consultation; (2) their rationale for rescinding the BiOp—that




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there was no agency action and/or the agency action was never implemented—is legally and

factually wrong; and (3) their attempt to moot this case is an impermissible post hoc rationale.11

        1.      Defendants’ Rescission of the BiOp and ITS is Unlawful.

        Defendants cite two regulations as legal authority for their decision to rescind the BiOp:

50 C.F.R. §§ 402.14(m)(2) & (m)(3). Defs.’ Mem. at 3. The subheading for 50 C.F.R. §

402.14(m) is “Termination of consultation.” The first provision provides: “Formal consultation is

terminated with the issuance of the biological opinion.” 50 C.F.R. § 402.14(m)(1). Accordingly,

when the BiOp was issued in 1993, consultation was terminated. Id. As a result, 50 C.F.R. §

402.14(m)(2) & (m)(3) cannot be lawful bases for Defendants’ actions because, as noted next,

they both apply only before consultation is terminated.

        50 C.F.R. § 402.14(m)(2) provides: “If during any stage of consultation a Federal agency

determines that its proposed action is not likely to occur, the consultation may be terminated by

written notice to the Service.” That circumstance never occurred; there is no document

suggesting the proposed action that resulted in the BiOp—a prospective MOU with Wyoming,

and the issuance of closure orders as mitigation—were “not likely to occur.” In fact, in 1994,

after the BiOp was issued and after the Forest Service had withdrawn its decision notice, the

Forest Service itself stated it had issued closure orders for parts of national forests within the

grizzly bear recovery area, and for other areas where grizzlies may be found, and that those

orders remained in effect. Plfs.’ Ex. 4.

        In turn, 50 C.F.R. § 402.14(m)(3) provides: “If during any stage of consultation a Federal

agency determines, with the concurrence of the Director, that its proposed action is not likely to



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    For the same reasons, Defendants’ argument that Guardians lacks statutory standing to pursue
this claim fails. Contra Defs.’ Mem. at 19–20. Because the rescission was unlawful, the BiOp
and ITS remain legally operative.


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adversely affect any listed species or critical habitat, the consultation is terminated.” That never

occurred either. Again, the Forest Service issued closure orders that demonstrably affected

grizzly bears. Plfs.’ Ex. 4.

        The regulatory history of 50 C.F.R. § 402.14(m)(2) & (3) shows that after consultation is

terminated, the only lawful course to change an existing BiOp is to reinitiate consultation. These

regulations were adopted jointly by FWS and the National Marine Fisheries Service (“Services”)

in 1986. Interagency Cooperation–Endangered Species Act of 1973, 51 Fed. Reg. 19,926 (June

3, 1986). When the Services considered promulgating 50 C.F.R. § 402.14(m), they rejected

allowing “consultation” to continue after a BiOp is issued. They first proposed regulations

authorizing “further discussion” between agencies after a BiOp is issued, and proposed that 50

C.F.R. § 402.14(m)(1) provide “that consultation terminated with the issuance of a ‘no jeopardy’

opinion unless further discussion took place[.]” Id. at 19,935 & 19,956 (emphasis added). In

their final rule, however, the Services deleted the “further discussion” provision, on the bases

“that all reviews and discussions [between the action agency and the Service] should occur prior

to the issuance of the biological opinion,” that an extension for further discussion “extends

consultation beyond the statutory time limits,” and that such an extension “lacks statutory

authority.” Id. at 19,935. Instead, the Services stated that “[i]f revisions to the opinion are

necessary, consultation can be reinitiated and a revised opinion issued.” Id. (emphasis added).

        Accordingly, here, Defendants had only one lawful means for reconsidering whether

“agency action” existed as to baiting in national forests: to reinitiate consultation pursuant to 50

C.F.R. § 402.16(a). Because Defendants failed to do so, their purported rescission of the BiOp is

unlawful, and cannot render this case moot. Douglas Timber Operators, Inc. v. Salazar, 774 F.

Supp. 2d 245, 258–59 (D.D.C. 2011) (BLM lacked “inherent authority” to withdraw a NEPA




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Record of Decision in order to correct legal error; where agency has regulatory procedures for

amending its decisions, it cannot withdraw a decision without complying with such procedures).

        2.      “Agency Action” Existed from 1993 to the Present.

        As the Court is aware, a predicate for consultation under Section 7(a)(2) is “any action

[by a federal agency] . . . (hereinafter in this section referred to as an ‘agency action’) . . . .” 16

U.S.C. § 1536(a)(2). The Ninth Circuit has “repeatedly held that the ESA’s use of the term

‘agency action’ is to be construed broadly.” Karuk Tribe v. U.S. Forest Serv., 681 F.3d 1006,

1021 (9th Cir. 2012) (en banc). Whether “agency action” under Section 7(a)(2) existed requires

two inquiries. Id. First, “whether [the] federal agency affirmatively authorized, funded, or carried

out the underlying activity.” Id. Second, “whether the agency had some discretion to influence or

change the activity for the benefit of a protected species.” Id. “There is ‘agency action’ whenever

an agency makes an affirmative, discretionary decision about whether, or under what conditions,

to allow private activity to proceed.” Id. at 1011.

        The Forest Service’s many actions related to the use of bait in hunting on national forests

constitute “agency action” under Section 7(a)(2). The Forest Service’s practice of requiring

special use permits in Wyoming before 1992 was affirmative, discretionary agency action. Turtle

Island Restoration Network v. Nat’l Marine Fisheries Serv., 340 F.3d 969, 970 (9th Cir. 2003)

(NMFS’s “continued issuance of fishing permits . . . constitutes ongoing agency action”). The

Forest Service’s decision to discontinue that practice and require procedures to address site-

specific impacts from baiting was affirmative, discretionary agency action. Cf. Dep’t of

Homeland Sec. v. Regents of the Univ. of California, 140 S. Ct. 1891, 1908 (2020) (Deferred

Action on Childhood Arrival (“DACA”) memorandum constituted agency action under the APA;

DACA is more than a passive “non-enforcement policy” because it directs agency to establish




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procedures to identify qualifying individuals). The Forest Service’s decision to prepare an EA

and apparently to enter into a MOU with Wyoming requiring state baiting rules constitutes

affirmative, discretionary agency action. Nat. Res. Def. Council v. Houston, 146 F.3d 1118, 1125

(9th Cir. 1998) (“Clearly, negotiating and executing contracts is ‘agency action.’”); Sierra Club

v. Babbitt, 65 F.3d 1502, 1508 (9th Cir. 1995) (“[T]he execution of a reciprocal right-of-way

agreement clearly would implicate Section 7(a)(2).”). The Forest Service’s decision to adopt

mitigation measures and issue closure orders for baiting in the grizzly bear recovery zone and

other areas was affirmative, discretionary agency action. 50 C.F.R. § 402.02 (agency action

subject to Section 7(a)(2) includes “actions intended to conserve listed species or their habitat”).

        Moreover, the Forest Service’s decision that it would monitor for grizzly mortalities and

regulate the use of baiting as necessary to avoid such mortalities was affirmative, discretionary

agency action. As noted, when it adopted its national rule, the Forest Service stated it would

“monitor State regulations” to ensure they continue to “protect Federal interests.” 60 Fed. Reg. at

14,721. The Forest Service asserted its officers would “determine[] on a site-specific basis that

there is a need to prohibit or restrict the practice.” Id. at 14,723. In fact, the Forest Service stated

its officers “must close an area to baiting” if certain events occur, including conflicts with laws

“such as the Endangered Species Act.” Id. at 14,721. The 1995 EA confirms these duties, stating

the rule “mandates corrective action through cooperative effort with the States or through

Federal action.” Plfs.’ Ex. 1 at 14 (emphases added).

        Finally, the effect of the BiOp and the accompanying ITS is ostensibly to give Idaho and

Wyoming immunity from take liability for licensing baiting for black bears that results in grizzly

deaths, which also constitutes affirmative, discretionary agency action. See Ramsey v. Kantor, 96

F.3d 434, 444 (9th Cir. 1996); Nat’l Wildlife Fed’n v. Norton, 2005 WL 2175874 *6 (E.D. Cal.




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Sept. 7, 2005) (“Issuance of an [incidental take permit] is an agency action that requires the

Service to engage in . . . consultation and prepare a BiOp . . . .”).

        To support their argument that there was no agency action, Defendants cite two footnotes

in Fund for Animals, Inc. v. Thomas, 127 F.3d 80, n.3 & n.6 (D.C. Cir. 1997), where the D.C.

Circuit, in the context of ruling that the Forest Service did not violate the ESA by failing to

formally consult with FWS, stated that “the Forest Service’s decision to refrain from future

regulation of baiting may not constitute ‘action at all,’” in which case “there most probably

would not have been ‘agency action’ to trigger the ESA consultation requirement.” Defs.’ Mem.

at 15. It is not clear whether this issue was raised or briefed by any party, but regardless, the

court did not discuss it further, and Defendants’ reliance on this unconsidered dicta is misplaced.

Summers v. Schriro, 481 F.3d. 710, 713 (9th Cir. 2007) (rejecting application of “unconsidered

dictum”); FDIC v. McSweeney, 976 F.2d 532, 535 (9th Cir. 1992) (“Judicial assumptions

concerning . . . issues that are not contested are not holdings.”) (quoting United States v. Daniels,

902 F.2d 1238, 1241 (7th Cir. 1990), omission original).12

        The Forest Service also relies on the Ninth Circuit’s decision in Western Watersheds

Project v. Matejko, 468 F.3d 1099 (9th Cir. 2006). In Matejko, the Ninth Circuit held that the

Bureau of Land Management’s (“BLM’s”) “acquiescence” to river and stream diversions on

BLM-managed land by private parties holding vested rights-of-way to divert water, recognized

under an 1866 statute and subsequently by federal statutes, regulations, and courts, was not




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    The footnotes in Fund for Animals are also dicta because the APA provides for judicial
review of final agency action, which was issuance of the BiOp, not whether it should have been
issued in the first place. Further, the Ninth Circuit has held that “[o]ut-of-circuit cases are not
binding on this Court and therefore do not constitute ‘controlling authority’” in the circuit.
Farrakhan v. Gregoire, 590 F.3d 989, 1000 (9th Cir. 2010), overruled on other grounds, 623
F.3d 990 (9th Cir. 2010) (en banc).


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“agency action” subject to the consultation requirement. Id. at 1103, 1107–10. The Ninth Circuit

explained the BLM “was ‘not an entity responsible for [the challenged] decisionmaking.’” Id. at

1109 (quoting Defenders of Wildlife v. EPA, 420 F.3d 946, 968 (9th Cir. 2005)). The court

distinguished cases “[w]here the challenged action comes within the agency’s decisionmaking

authority and remains so,” explaining that such actions do fall within the scope of Section

7(a)(2). Id. (quoting Defenders, 420 F.3d at 969, emphasis original). On the other hand, “there is

no ‘ongoing agency action’ where the agency has acted earlier but specifically did not retain

authority or was otherwise constrained by statute, rule, or contract.” Id. (emphasis original).

        Matejko is inapposite. Here, the Forest Service has not merely “acquiesced” to use of bait

in hunting in national forests. Rather, it regulated the practice through the use of special use

permits on some forests in the past, and affirmatively issuing closure orders in specific areas. 60

Fed. Reg. at 14,720; Plfs.’ Ex. 4. It also affirmatively committed to monitor the practice and to

regulate it if necessary. 60 Fed. Reg. at 14,723 (“The authorized officer shall continually monitor

State hunting regulations with regard to the use of bait. A site-specific restriction or prohibition

on baiting shall occur when the authorized officer determines that one or more . . . circumstances

exists . . . .”); Plfs.’ Ex. 2 at 8. Here, unlike in Matejko, the Forest Service is the “entity

responsible for the challenged decisionmaking.” The regulation of the use of bait in hunting has

“come[] within the agency’s decisionmaking authority and remains so,” under the express terms

of the national rule and the BiOp.

        Defendants’ argument that the “agency action” consulted on was never implemented is

wrong. Contra Defs.’ Mem. at 5. The Forest Service appeared to at least enter into a MOU with

Wyoming, Plfs.’ Ex. 1 at 4, and its own document states that it implemented closure orders that

remain in effect, prohibiting the use of bait in the grizzly bear recovery zone and in food




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restriction areas, and prohibiting the use of non-natural baits elsewhere. Plfs.’ Ex. 4. Moreover,

the national rule has been implemented under the consultation and take immunity of the 1993

BiOp, as the agencies’ informal consultation in 1995 makes clear: the Forest Service stated its

opinion, and FWS concurred, “that the National [Rule], when issued, would not change the

conditions or situations that were present when the original BiOp was issued,” and requested that

FWS “review the original [BiOp] in light of this proposed [national rule], and the actions we

have taken,” to determine whether the BiOp’s determinations remained valid. Plfs.’ Ex. 4 & 5.

        Because Defendants’ rescission of the BiOp is predicated on the erroneous conclusion

that the Forest Service’s actions in Wyoming, and later adoption of the national rule do not

contitute “agency action” subject to the consultation requirement, the conclusion is arbitrary,

capricious, an abuse of discretion, or otherwise not in accordance with law, 5 U.S.C. §

706(2)(A), and therefore cannot render this case moot.

        3.      Defendants’ Attempt to Rescind the BiOp is an Unlawful Post Hoc Rationale.

        Defendants’ decision to rescind the BiOp is an impermissible post hoc rationale advanced

in this case to evade review by this Court. “It is a ‘foundational principle of administrative law’

that judicial review of agency action is limited to ‘the grounds that the agency invoked when it

took the action.’” Regents, 140 S. Ct. at 1907 (quoting Michigan v. EPA, 576 U.S. 743, 758

(2015)). “Alternatively, the agency can ‘deal with the problem afresh’ by taking new agency

action. An agency taking this route is not limited to its prior reasons but must comply with the

procedural requirements for new agency action.” Regents, 140 S. Ct. at 1908 (emphasis original)

(quoting SEC v. Chenery Corp., 332 U.S. 194, 201 (1947)). Moreover, an agency changing its

policies “must . . . ‘show that there are good reasons for the new policy.’” Encino Motorcars,




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LLC v. Navarro, 136 S. Ct. 2117, 2126 (2016) (quoting FCC v. Fox Television Stations, Inc., 556

U.S. 502, 515 (2009)).

        Here, Defendants seek to rescind the BiOp 27 years after it was issued, on the new

assertion that the proposed alternative in the 1993 EA was never implemented and therefore

there was never any “agency action.” In the Forest Service’s letter, it candidly acknowledges the

pending litigation against it as a reason for rescission. Defs.’ Ex. 1 at 3. The Forest Service did

not comply with the ESA’s procedural requirements for modifying the biological opinion, 50

C.F.R. § 402.16(a), and therefore has not “deal[t] with the problem afresh” so as to overcome the

prohibition on post hoc rationales. Nor has the Forest Service shown “good reasons” for its new

position that there was no “agency action” within the meaning of Section 7(a)(2) and that the

proposed action was never implemented. As a result, Defendants’ actions are arbitrary,

capricious, an abuse of discretion, or otherwise not in accordance with law, 5 U.S.C. §

706(2)(A), and therefore cannot render this case moot.

B.      The Court Should Deny Defendants’ Motion to Dismiss, and Order Them to
        Produce their Administrative Records.

        The Court should deny the motion to dismiss because at this stage of this case there is

insufficient or incomplete evidence to determine whether the BiOp was based on “agency

action” under Section 7(a)(2), as Guardians alleges in its amended complaint, AC ¶ 77. As noted,

to decide a motion under Rule 12(b)(1), the Court “may resolve the factual disputes by ‘look[ing]

beyond the complaint to matters of public record, without having to convert the motion into one

for summary judgment.’” Friends of the River, 870 F. Supp. 2d at 972 (quoting White v. Lee, 227

F.3d 1214, 1242 (9th Cir. 2000)); Friends of the Wild Swan, Inc. v. U.S. Forest Service, 910 F.

Supp. 1500, 1504 (D. Or. 1995) (“Because the court’s power to hear the case is at stake, it is not

limited to considering the allegations of the complaint. It may consider extrinsic evidence; and if



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the evidence is undisputed, it may weigh the evidence and determine the facts in order to satisfy

itself as to its power to hear the case.”) (quotation and citations omitted; emphases original).

Generally, the Court is “free to hear evidence regarding jurisdiction and to rule on that issue

prior to trial, resolving factual disputes where necessary.” Augustine v. United States, 704 F.2d

1074, 1077 (9th Cir. 1983).

        Here, Guardians files as exhibits the few agency documents Guardians possesses that

illuminate Defendants’ actions related to bear baiting in grizzly habitat in national forests in

Idaho and Wyoming in 1993 and 1995. Some documents show why agency action under Section

7(a)(2) occurred. Other documents (such as any MOU) are missing. Because Defendants have

not answered the amended complaint, or filed their administrative records (which their attorney

has written exist), neither Guardians nor the Court possesses a full evidentiary basis for

determining whether agency action under Section 7(a)(2) existed in the first place. In this

context, the Court should deny the motion to dismiss without prejudice, and require Defendants

to file their answer, and produce and file their administrative records. DOE #1 v. Trump, 423 F.

Supp. 3d 1040, 1046 (D. Or. 2019) (denying federal agencies’ motion to dismiss because the

court ruled it could not, without their administrative records, determine if “final agency action”

under the APA existed); Friends of the River, 870 F. Supp. 2d at 976–77 (same).

                                               Conclusion.

        The Court should deny Defendants’ motion to dismiss without prejudice and order them

to produce their administrative records.

        Date: August 28, 2020.                    Respectfully submitted,

                                                  /s/ Peter M. K. Frost
                                                  Peter M. K. Frost, pro hac vice
                                                  Dana M. Johnson, Idaho Bar #8359




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